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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           :
In re:                                     : Chapter 11
                                           :
CENTER CITY HEALTHCARE, LLC d/b/a          :
HAHNEMANN UNIVERSITY HOSPITAL, et al.,1 :    Case No. 19-11466 (KG)
                                           :
                                           : Jointly Administered
                                           :
                                           : Hearing Date: 9/23/19 at 1:00 p.m. (ET)
                                           : Obj. Deadline: 10/7/19 at 4:00 p.m. (ET)
                  Debtors.                 :
                                           : Re: D.I. 205, 301 and 763

            LIMITED OBJECTION TO DEBTOR’S NOTICE OF ASSUMPTION,
          ASSIGNMENT AND CURE AMOUNT WITH RESPECT TO EXECUTORY
               CONTRACTS AND UNEXPIRED LEASES OF THE DEBTORS

          UnitedHealthcare Insurance Company (“United”) submits this limited objection to the

Debtors’ Motion for Entry of (A) an Order (I) Scheduling a Hearing to Consider Approval of the

Sale or Sales of Substantially All Assets of St. Christopher’s Healthcare, LLC and Certain

Related Debtors and the Assumption and Assignment of Certain Executory Contracts and

Unexpired Leases, (II) Approving Certain Bidding Procedures, Assumption and Assignment

Procedures, and the Form and Manner of Notice Thereof, (III) Establishing Procedures in

Connection with the Selection of and Protections Afforded to Any Stalking Horse Purchasers,

and (IV) Granting Related Relief; and (B) One or More Orders (I) Approving the Sales or Other

Acquisition Transactions for the Assets, (II) Authorizing the Sales Free and Clear of All

Encumbrances, (III) Authorizing the Assumption and Assignment of Certain Executory Contracts


1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, LLC (1617), SCHC
Pediatric Associates, LLC (0527), St. Christopher’s Pediatric Urgent Care Center, LLC (6447), SCHC Pediatric
Anesthesia Associates, LLC (2326), StChris Care at Northeast Pediatrics, LLC (4056), TPS of PA, LLC (4862),
TPS II of PA, LLC (5534), TPS III of PA, LLC (5536), TPS IV of PA, LLC (5537), and TPS V of PA, LLC (5540).
The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania 19102.


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and Unexpired Leases, and (IV) Granting Related Relief, [D.I. 205] (the “Sale Motion”), and the

proposed assumption and assignment of certain Assumed Contracts as set forth in the Second

Supplemental Notice Of Assumption, Assignment And Cure Amount With Respect To Executory

Contracts And Unexpired Leases Of The Debtors [D.I. 763] (the “Cure Notice”). In support of

this limited objection, United states as follows:

I.        BACKGROUND

          1.     United, contracting on behalf of itself and its affiliates, and Philadelphia

Academic Health System, LLC, contracting on behalf of itself and its subsidiaries St.

Christopher’s Healthcare LLC and Center City Healthcare, LLC (collectively, the “Facility

Debtors”), are parties to a Facility Participation Agreement with an effective date of January 12,

2018 (the “FPA”).

          2.     Effective as of July 12, 2019, United and the Facility Debtors entered into an

amendment to the FPA. Hereinafter, reference to the FPA will include reference to the July 12,

2019 amendment.2

          3.     United, contracting on behalf of itself and its affiliates, and Philadelphia

Academic Health System, LLC, contracting on behalf of itself and its affiliate Philadelphia

Academic Medical Associates, LLC (collectively, the “Medical Group Debtors” and together

with the Facility Debtors, the “Debtors”), are parties to a Medical Group Participation

Agreement with an effective date of January 12, 2018 (the “MGA” and together with the FPA,

the “United Agreements”). Under the MGA, the contracted Medical Group Debtors include

SCHC Pediatric Associates, LLC.


2
 The FPA contains United’s highly confidential and sensitive commercial information. While the Facility Debtors
should have copies of the FPA, other parties in interest may request copies of such FPA by written request to the
undersigned counsel and upon the entry into either an acceptable confidentiality agreement or the entry of an
appropriate protective order.

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          4.     Effective as of July 12, 2019, United and the Medical Group Debtors entered into

an amendment to the MGA. Hereinafter, reference to the MGA will include reference to the July

12, 2019 amendment.3

          5.     Pursuant to the United Agreements, the Facility Debtors and the Medical Group

Debtors agreed to provide certain covered medical services to members enrolled in United’s or

its affiliates’ health insurance plans, including Medicaid and Medicare managed care plans, as

well as self-funded health plans administered by United and its affiliates, in exchange for certain

fees.

          6.     In connection with paying claims submitted by the Facility Debtors and the

Medical Group Debtors under the United Agreements, respectively, United will periodically

overpay a claim for a variety of reasons. When this occurs, United has the right to be reimbursed

for such overpayments under Section 6.10 of the FPA and under Section 7.10 of the MGA.

          7.     On June 30, 3019 (the “Petition Date”), the Debtors filed voluntary petitions in

this Court under Chapter 11 of the Bankruptcy Code.

          8.     In connection with prepetition overpayments to the Debtors, United has filed the

following proofs of claims against the Debtors:

                 a.      United has filed a proof of claim for $266,278.90 against St. Christopher’s

          Healthcare LLC (Case No. 19-11468, Claim No. 14) (the “St. Christopher’s Proof of

          Claim”) for prepetition overpayments under the FPA.




3
  The MGA contains United’s highly confidential and sensitive commercial information. While the Medical Group
Debtors should have copies of the MGA, other parties in interest may request copies of such MGA by written
request to the undersigned counsel and upon the entry into either an acceptable confidentiality agreement or the
entry of an appropriate protective order.

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                 b.     United has filed two proofs of claim against Center City Healthcare, LLC:

          one for $21,414.55 (Case No. 19-11466, Claim No. 187) and one for $184,142.13 (Case

          No. 19-11466, Claim No. 2) (collectively, the “Center City Proofs of Claim”).

                 c.     United has filed a proof of claim for $3,164.10 against SCHC Pediatric

          Associates, LLC (Case No. 19-11471, Claim No. 2) (the “SCHC Proof of Claim” and

          together with the St. Christopher’s Proof of Claim and the Center City Proofs of Claim,

          the “United Proofs of Claim”).

          9.     Copies of the United Proofs of Claim are attached hereto as Exhibit A.

          10.    In total, United is owed $474,999.68 in prepetition overpayments under the

United Agreements.

II.       LIMITED OBJECTION

          11.    In Exhibit A to the Cure Notice, the Debtors identify certain executory contracts

to be assumed and assigned to the Purchaser (as defined in the Cure Notice). See Cure Notice,

Ex. A [D.I. 763-1]. Included on that list are the FPA and the MGA. Id. Exhibit A designates

the cure amounts for the FPA and the MGA as $0, which does not align with the actual cure

amount due in connection with either contract. See id.

          12.    United submits this limited objection to the Cure Notice to require that the

Debtors update Exhibit A to the Cure Notice to accurately reflect the cure amounts for the FPA

and the MGA, as reflected in the United Proofs of Claim. Specifically, pursuant to 11 U.S.C. §§

365(b) and 365(f), as of the date of this limited objection: (a) the total cure due for the FPA is

$471,835.58; and (b) the total cure due for the MGA is $3,164.10.

          13.    In addition to the cure amounts due under the FPA, United has recently requested

medical records related to prepetition services that Center City Healthcare, LLC provided to

United members. United is currently seeking the medical records pertaining to eight claims,

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which total $108,773.90, to audit whether the underlying claims were overpaid for those

prepetition services. If the medical records do not substantiate the validity of United’s payments

under the FPA, then United reserves the right to amend its proof of claim to include such

amounts and amend this cure objection to require payment of the same.

          14.   Further, through the ongoing operation of the Debtors’ businesses subsequent to

the Petition Date, additional overpayments may become due and owing before the asset sale

closes. The cure amount must include any and all post-petition, pre-closing overpayments that

arise under the United Agreements.

          15.   United intends to engage in discussions with the Debtors regarding the cure

amounts and hopes to resolve this objection through those discussions.




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          WHEREFORE, United respectfully requests that the Court enter an order requiring: (i)

the Debtors to update Exhibit A to the Cure Notice to accurately reflect the cure amounts due

under the FPA and the MGA as reflected herein, and (ii) granting such further relief as the Court

deems appropriate.

Dated: October 3, 2019
       Wilmington, Delaware                  BAYARD, P.A.

                                             /s/ Gregory J. Flasser
                                             Justin R. Alberto (No. 5126)
                                             Gregory J. Flasser (No. 6154)
                                             600 North King Street, Suite 400
                                             Wilmington, Delaware 19801
                                             Tel: (302) 655-5000
                                             Fax: (302) 658-6395
                                             Email: jalberto@bayardlaw.com
                                                     gflasser@bayardlaw.com

                                             and

                                             Eric S. Goldstein, Esq.
                                             Jaime Welsh, Esq.
                                             SHIPMAN & GOODWIN LLP
                                             One Constitution Plaza
                                             Hartford, CT 06103
                                             Tel: (860) 251-5000
                                             Fax: (860) 251-5218
                                             E-mail: egoldstein@goodwin.com
                                                      jwelsh@goodwin.com

                                             Attorneys for UnitedHealthcare Insurance
                                             Company




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